                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:03CR219-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                        ORDER
                                    )
ANEWA TIARI EL                      )
LEANDRA SMITH                       )
____________________________________)


        This matter is before the court upon its own motion. The parties are hereby directed to file
their sentencing memorandums within thirty days of the date of entry of this order.
        IT IS SO ORDERED.
                                                  Signed: August 28, 2007




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